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 7                                UNITED STATES DISTRICT COURT
 8                                         DISTRICT OF NEVADA
 9
     UNITED STATES OF AMERICA,                           )      Case No. 2:15-cr-00069-JCM-NJK
10                                                       )
                           Plaintiff(s),                 )      ORDER
11                                                       )
     vs.                                                 )
12                                                       )
     BING HAN,                                           )
13                                                       )
                           Defendant(s).                 )
14                                                       )
15           Pending before the Court is a motion to suppress filed by Defendant Bing Han. Docket No. 38.
16   On September 4, 2015, Mr. Han filed a request to substitute attorneys. Docket No. 76. The Court
17   hereby ORDERS Mr. Han’s new attorney to file, no later than September 14, 2015, a notice whether
18   Mr. Han wishes to continue to proceed with that motion to suppress or whether he wishes to withdraw
19   it.
20           IT IS SO ORDERED.
21           DATED: September 8, 2015
22                                               ______________________________________
                                                 NANCY J. KOPPE
23                                               United States Magistrate Judge
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